      Case 4:19-cv-06785-KAW Document 17 Filed 03/18/20 Page 1 of 1




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 8                       UNITED STATES DISTRICT COURT
 9                      NORTHERN DISTRICT OF CALIFORNIA
10    SAMUEL LOVE,                                                      4:19-cv-06785 KAW
                                                  Case No. 3:19-CV-06785-KAW
11             Plaintiff,
                                                  ORDER [proposed[ TO EXTEND
12      v.                                        DATE FOR FILING DISMISSAL
13    BUTH-NA-BODHAIGE, INC., a
      Virginia Corporation; and Does 1-
14    10,
15             Defendants.
16
17
             Having read the stipulation of the parties, and for good cause shown,
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     the Court hereby GRANTS the request. The deadline to file a Stipulation for
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     Dismissal shall be extended up to and including to April 16, 2020.
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                                                              S DISTRICT
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     IT IS SO ORDERED.
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22                                                                    ORDER
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     Dated: _________________
             March 18, 2020                       IT IS S
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24                                                  Judge K
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                                      United States Magistrate Judge
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     Order                                                         3:19-CV-06785-KAW
